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United States District Court
Southern District of New York                                7:20-cv-09985-CS
Miguel Schlemetty, individually and on
behalf of all others similarly situated,
                                Plaintiff,

                  - against -                          Notice of Voluntary Dismissal

Heineken USA Inorporated,
                                Defendant

       Plaintiff gives notice this action is voluntarily dismissed with prejudice. Fed. R. Civ. P.

41(a)(1)(A)(i).

Dated: May 19, 2021
                                                               Respectfully submitted,

                                                               Sheehan & Associates, P.C.
                                                               /s/Spencer Sheehan
                                                               Spencer Sheehan
                                                               60 Cuttermill Rd Ste 409
                                                               Great Neck NY 11021-3104
                                                               Tel: (516) 268-7080
                                                               Fax: (516) 234-7800
                                                               spencer@spencersheehan.com
           Case 7:20-cv-09985-CS Document 8 Filed 05/19/21 Page 2 of 3




7:20-cv-09985-CS
United States District Court
Southern District of New York

Miguel Schlemetty, individually and on behalf of all others similarly situated,

                                             Plaintiff,


                        - against -


Heineken USA Inorporated,

                                             Defendant




                               Notice of Voluntary Dismissal


                       Sheehan & Associates, P.C.
                        60 Cuttermill Rd Ste 409
                        Great Neck NY 11021-3104
                           Tel: (516) 268-7080
                           Fax: (516) 234-7800


Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: May 19, 2021
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
           Case 7:20-cv-09985-CS Document 8 Filed 05/19/21 Page 3 of 3




                                      Certificate of Service

I certify that on May 19, 2021, I served or transmitted the foregoing by the method below to the
persons or entities indicated, at their last known address of record (blank where not applicable).

                                                CM/ECF         First-Class Mail     Email
 Defendant’s Counsel                               ☐                 ☐                ☐

 Plaintiff’s Counsel                               ☒                 ☐                ☐

                                                           /s/ Spencer Sheehan
                                                           Spencer Sheehan
